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U.S. Department of Justice

Federal Bureau of Prisons

 

Northeast Regional Office
VIA E-MAIL

U.S. Custom House
2nd & Chestnut Streets, 7" Floor
Philadelphia, PA 19106

February 1, 2021

Rebekah Donaleski, Esquire
Assistant United States Attorney
United States Attorney's Office
Southern District of New Yor

One St. Andrew’s Plaza

New York, NY 10007

Re: United States v. David Correia
Case No. LO GRSHZEN IEC}

Dear Ms. Donaleski:

Thank you for your recent inquiry concerning the Federal Bureau
of Prisons’ (BOP) ability to provide adequate health care for federal
prisoners with significant, acute, or chronic medical conditions.
Specifically, you have asked whether, based on the available
information, the BOP can provide the necessary and appropriate care
for Mr. Correia should he bejincarcerated in a federal correctional
facility.

I am aware of Mr. Correlia’s medical conditions as detailed in
, 4 '

As the BOP provides art ee medical services, a defendant’s
medical condition generally will not preclude a sentence to BOP
custody. The BOP has implemented a Medical Care Level Classification
system. The Care Level Classification system is intended to enhance
the BOP’s ability to manage inmate health care effectively by matching
inmates with those institutions that can best meet their medical
needs, while at the same time achieving optimal use of the BOP’s
health care resources. The BOP’s goal in implementing the Care Level
system is to assign inmates with greater medical needs to those
facilities with more comprehensive on-site medical resources, and to

provide more effective and efficient access to health care for each
inmate.
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The official BOP designation process is typically initiated after
the BOP's Designation and Sentence Computation Center (DSCC) receives
an electronic request from the United States Marshal Service (USMS)
with the necessary documents| Judgment and Commitment Order and the
Presentence Report). Initial|designation cases involving complex
medical conditions are referred to the BOP’s Office of Medical
Designations and Transportation (OMDT) for review and determination as
to the appropriate facility, either a Federal Medical Center (FMC) or
a general population institution in which to designate the prisoner.
In this case, if committed to the custody of the BOP, Mr. Correia
would likely be reviewed for! designation by the OMDT. At that time, a
determination would be made as to the appropriate facility, either an
FMC or a general population institution, in which to designate Mr.
Correia.

FMCs are prisons that provide in-patient care to seriously ill
inmates. The BOP has seven (7) of these centers throughout the United
States. Besides providing chronic care for seriously ill inmates,
these medical centers also provide specialty services such as
chemotherapy, pain managenent clinics, physical therapy and hospice
care for terminally ill inmates. Each medical center also has a long-
term unit for inmates requiring 24-hour nursing care. Further, all of
the FMCs utilize contract physicians to provide in-house specialty
services. Additionally, three (3) of BOP’s FMCs have in-house Nursing
Care Center Units (NCCs) that provide additional medical attention
beyond hospitalization that heme be provided in the ambulatory
setting. Inmates at FMCs Saree Care Level 4 inmates.

Each BOP institution contracts with medical centers in the local
vicinity to provide specialized medical treatment. These medical
centers offer the BOP a wide range of trained specialists and
diagnostic tools such as MRI$ and CT Scans. If needed, the BOP would
be able to provide Mr. Correia with medical specialists through the
BOP’s contractual agreements While it is true many of these
specialists are not located inside non-FMC institutions, the BOP has
procedures in place to rae ae inmates to and from local hospitals
and contracted medical centers so that inmates can receive appropriate
and necessary care. Further, when medical emergencies and the need for
surgical procedures arise, each institution has procedures in place
that instruct health services and/or correctional staff on how to
contact local emergency medi¢al services for transportation to a local
medical center.

Every general population institution runs a number of Chronic
Care Clinics designed to provide routinely scheduled quality care to
medically ill inmates, as well as to stay abreast of any changes in
medical conditions that may arise. If Mr. Correia is designated to a

general population institution, it is likely he would be assigned to
DENN 225 enrolled in Chronic

Care Clinics are seen as often as medically necessary. Additionally,

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Esquire

Assistant United States Attorney

United States v. Correia

 

the BOP has published guidan
process and levels that it c

ge describing the medical classification
nsiders for inmates.?+

With respect to diet, the National Food Menu is considered a

heart-healthy menu. Diet mo
necessary and in consultatio
Exercise is also encouraged
and as a means of dealing wi

[a can be made as medically
with the inmate’s treating physician.
for inmates to increase overall wellness
h stress.

The Bureau has an extensive National Formulary of medications

approved for inmate use. The
is to optimize therapeutic o
medications, and ensure drug
correctional environment. Th
their equivalents, are inclu
Correia requires medications
substantially similar equiva
substantially similar equiva
needs, a non-formulary reque
to the Bureau of Prisons Cen
formulary requests can usual
the clinician’s request.

primary goal of BOP Formulary management
tcomes, optimize cost-effectiveness of
usage is appropriate within the
medications he has been prescribed, or
ed on the BOP’s formulary index. If Mr.
that are not explicitly on the Formulary,
ents may be prescribed. Finally, if a
ent is not available for a medication he
t can be made by his treating clinician
ral Office in Washington, D.C. Non-
y be accomplished within 36-48 hours of

Additionally, the Bureau continues to follow CDC guidelines in

dealing with the Covid-19 pa
operations plan, vaccine dis
and testing information for
on the Covid-19 resource pag

Based on the informatic

BOP’s medical resources, the
care for Mr. Correia should
and committed to the custody
information in this matter,

ndemic. The most up to date modified
tribution information and Covid-19 case
each facility may be found on www.bop.gov

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n provided to me and my knowledge of the
BOP will be able to provide appropriate
he be sentenced to a term of incarceration
of the BOP. If I can offer any further
ea do not hesitate to contact me.

Sincere

 

 

Gerard R. Travers
Health Services Administrator
Northeast Region

' Federal Bureau of Prisons, Clinical Practice Guideline, Care Level

Classification for Medical and

Mental Health Conditions or Disabilities,

https: //www.bop.gov/resources/pdfs/care_level_classification_guide.pdf

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